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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


                   -against-                                       24-CR-542 (AS)

SEAN COMBS,                                                              ORDER
                               Defendant.



ARUN SUBRAMANIAN, United States District Judge:

      For the reasons stated at the conference held on March 14, 2025:
      •   Defense discovery is due 10 days after the Government’s witness and exhibit lists are
          shared, and continuing thereafter. The deadline for the Government’s witness and
          exhibits lists is April 14, 2025.
      •   There will be one set of Rule 413 motions. The defense motion is due on March 19,
          2025, the Government’s response is due on March 26, 2025, and the defense’s reply
          is due on March 28, 2025.
      •   By March 17, 2025, the Government should have furnished to the defense a list
          disclosing the identities of individuals listed in its 404(b)/413 notice.
      •   Any potential Rule 412 motions must be made by March 28, 2025.

      SO ORDERED.

Dated: March 18, 2025
       New York, New York



                                                             ARUN SUBRAMANIAN
                                                             United States District Judge
